Case 1:21-cv-04861-NLH-AMD Document 46 Filed 08/02/21 Page 1 of 16 PageID: 286



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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY
                             CAMDEN VICINAGE

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 MAURICE GORDON, SR. et al.,

                        Plaintiffs,

      -against-


 RANDALL WETZEL, et al.,

                     Defendants.
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     Plaintiffs’ Brief in Opposition To Motion To Stay
                          Discovery
Case 1:21-cv-04861-NLH-AMD Document 46 Filed 08/02/21 Page 2 of 16 PageID: 287



                             TABLE OF CONTENTS


 Preliminary Statement . . . . . . . . . . . . . . . . . . . . . .


 Argument. . . . . . . . . . . . . . . . . . . . . . . . . . . . .


 The State Defendants’ Motion. . . . . . . . . . . . . . . . . . .


 Tranche One
 Disclosure Regarding the Incident and Defendant Wetzel. . . . . .


 Tranche Two
 Disclosure Regarding Data and Statistics. . . . . . . . . . . . .


 Tranche III
 Disclosure Involving State Defendants’ Knowledge and Actions. . .


 The Wetzel Motion . . . . . . . . . . . . . . . . . . . . . . . .


 Conclusion. . . . . . . . . . . . . . . . . . . . . . . . . . . .
Case 1:21-cv-04861-NLH-AMD Document 46 Filed 08/02/21 Page 3 of 16 PageID: 288



                           Table of Authorities



 In re Grand Jury Matter
      697 F.2d 511 (3rd Cir,. 1982) . . . . . . . . . . . . . . . .


 Landis v. North American Co.
      299 U.S. 248 (1936). . . . . . . . . . . . . . . . . . . . .


 Udeen v. Subaru of America, Inc., 378 F.Supp.3d 330, 332-333
 [D.N.J. 2019] [Schneider, Mag.])


 Walsh Securities, Inc. v. Cristo Property Management, Ltd.,
      7 F.Supp.2d 523 (D.N.J. 1998). . . . . . . . . . . . . . .


 White v Williams,
      179 F.Supp.2d 405 (D.N.J. 2002]) . . . . . . . . . . . . . .




                                      2
Case 1:21-cv-04861-NLH-AMD Document 46 Filed 08/02/21 Page 4 of 16 PageID: 289



                          Preliminary Statement

      More than 14 months ago, Maurice Gordon, a 27 year old unarmed

 black male who carried a bible in his car and had no criminal

 record, was shot by defendant Wetzel six times during a traffic

 stop.   After shooting and cuffing him while he laid dying, Wetzel

 offered no first aid.     Indeed, no first aid was offered until more

 than 17 minutes later when other officers arrived.



      With respect to the State defendants, putting it graphically,

 albeit figuratively, plaintiffs allege that the statistics and

 factual data demonstrate that historically in the State of New

 Jersey, and during the period of time relevant to this action,

 Martin Luther King would have been three or more times more likely

 to have been subject to a traffic stop than Charles Manson.

 Plaintiffs allege that the statistics and facts further demonstrate

 that, again during time pertinent, Dr. King would have been three

 or more times more likely than Mr. Manson to have suffered the use

 of force by police premised upon the same measure of purported

 provocation (e.g., defiant words, physical resistence, etc.).



      While plaintiffs contend the State defendants should have

 known this, based in part on public admissions and press reports,

 they believe there is little doubt that the State defendants did


                                      3
Case 1:21-cv-04861-NLH-AMD Document 46 Filed 08/02/21 Page 5 of 16 PageID: 290



 have actual knowledge of this.           And, in response, plaintiffs

 contend the State defendants did nothing or, at best, nothing in

 any meaningful sense.



      It is submitted that if force by State actors were being used

 in such disproportion against Jews, or women, or Sikhs or gays,

 action would have been taken, as well it should have been.



      As it stands, a 27 year old young man without a criminal

 history and with a bible in his car, known to his shooter at the

 time of the shooting to be unarmed, is dead.



      The State defendants have moved to stay discovery pending the

 disposition of their motion to dismiss currently calendered for

 October 18, 2021.



      Defendant Wetzel seeks a stay of discovery sine die until the

 close of Grand Jury proceedings.



      For the reasons set forth below, it is respectfully submitted

 the applications to stay by all defendants should be denied.




                                      4
Case 1:21-cv-04861-NLH-AMD Document 46 Filed 08/02/21 Page 6 of 16 PageID: 291



                                  Argument



 The State Defendants’ Motion

      As set forth herein, it is submitted that the vast bulk of the

 State defendants’ motion makes no sense as it is without rationale

 underlying it.    Indeed, the grant sought by these defendants - as

 flat discovery lockdown - exceeds any rationale upon which it is

 premised.



      While the State defendants speak in generalized terms about

 “burden” and “breadth” of the discovery they seek to halt, with the

 exception of one area, analysis shows the burden vastly overstated

 or illusory.



      As it pertains to the State defendants, discovery may be

 divided into three tranches.



                                Tranche One

 Disclosure Regarding the Incident and Defendant Wetzel



      Regardless of the disposition of the State defendants’ pending

 motion, disclosure will be required from the State defendants

 regarding Wetzel’s records and evidence related to the shooting,


                                      5
Case 1:21-cv-04861-NLH-AMD Document 46 Filed 08/02/21 Page 7 of 16 PageID: 292



 Plaintiffs’ need for this disclosure and its ultimate production

 would be unaffected by the disposition of the State defendant’s

 pending motion and would only impose a pointless delay.



      “[T]he suppliant for a stay must make out a clear case of

 hardship or inequity in being required to go forward, if there is

 even a fair possibility that the stay for which he prays will work

 damage to some one else” (Landis v. North American Co., 299 U.S.

 248, 255 [1936]).          Here, the State defendants have set forth           no

 rationale     for     delaying     any    burden     of   disclosure   which   is

 inevitable.



      “The    stay     of   a   civil     case   is   an   “extraordinary   remedy

 appropriate for extraordinary circumstances.” Weil v. Markowitz,

 829 F.2d 166, 174 n. 17 [D.C.Cir.1987]; see also, Walsh Securities,

 Inc. v. Cristo Property Management, Ltd., 7 F.Supp.2d 523, 526

 [D.N.J.     1998]).        While   the     State     specifically   opposes    the

 production of unreleased video until the matters are presented to

 Grand Jury - for which it has been more than fourteen months and

 counting – materials created independently of the grand jury

 process do not automatically become “matters occurring before a

 grand jury” even when they are subpoenaed by or transmitted to a

 grand jury (In re Grand Jury Matter, 697 F.2d 511, 513 [3rd Cir,.


                                            6
Case 1:21-cv-04861-NLH-AMD Document 46 Filed 08/02/21 Page 8 of 16 PageID: 293



 1982]).1



      In any event, while the State’s position is informational, the

 State defendants have not joined in it.        Regardless, the recorded

 evidence is subsumed within the State defendants’ overbroad request

 to withhold all, including inevitable, disclosure until their

 motion is decided.



                                Tranche Two

 Disclosure Regarding Data and Statistics



      Arguing that proceeding with discovery presents disclosure of

 formidable breadth and burden, the State defendants note: “[T]he

 discovery related to the supervisory claims in this case is likely

 to be expansive, broad, and data-intensive. Plaintiffs will likely

 demand years-worth of raw data related to State Police practices”

 (Docket 37-1, Page 14 of 20).



      Here, the State defendants may be hoist on their own petard.




      1
      In stating its position, the State articulated no rationale
 to support it or prejudice it sought to avoid. Indeed, the State
 did not even claim that the video it seeks to withhold will ever
 find its way before the Grand Jury.

                                      7
Case 1:21-cv-04861-NLH-AMD Document 46 Filed 08/02/21 Page 9 of 16 PageID: 294



      In their initial motion to dismiss before this Court, they

 stated, inter alia:

      * * * State statutory law actually mandates that an
      office within the Office of the Attorney General, OLEPS,
      engage in rigorous oversight and analyses of the State
      Police’s actions, training, and internal investigations
      in an effort to ensure that members of State Police do
      not engage in racially motivated policing. As a result,
      Plaintiffs’ claims based on the theory that Defendants
      fail to supervise and train the State Police in a manner
      that is constitutionally sufficient should be dismissed
      as well.

 (Docket # 19-1, Page 24 of 28 [emphasis added])



      In the State defendants’ revised motion to dismiss, they

 argue:

      Thus, Plaintiffs’ assertion in the Amended Complaint that
      “Grewal has conceded that his office did not do this”
      (i.e., monitor and analyze uses of force particularly in
      relation to racial statistics) is inaccurate as to the
      New Jersey State Police, and in fact he stated the
      opposite from what Plaintiffs allege. (See Am. Compl. ¶
      77). That assertion made in the Amended Complaint also
      flies in the face of reality because the Office of the
      Attorney General in fact conducts extensive statistical
      analysis of all State Police activity as it relates to
      the race of the subjects of that activity — including
      uses of force — and publishes detailed reports of that
      analysis for anyone in the general public who wishes to
      review them.

 (Docket # 36-1, Page 26 of 34 [footnote omitted] [emphasis added])



      In   addition,   even   while   resisting   disclosure,    the   State

 defendants claim they already make most, if not all, of this data


                                      8
Case 1:21-cv-04861-NLH-AMD Document 46 Filed 08/02/21 Page 10 of 16 PageID: 295



 available to the public (Docket # 37-1, Pages 15-16).             They simply

 resist providing it to plaintiffs.



       Thus,      the   State   defendants   appear   to   concede      that   the

 statistics and data for which disclosure is sought is maintained

 and readily available to them, undercutting any claim of great

 burden or feigned gasp at disclosure of ponderous breadth.



       While defendants’ motion to dismiss is not before this Court

 on the instant application, it is the State defendants’ leitmotif

 in trying to justify shutting disclosure down until some unknown

 and unnamed future date.



       As it stands, defendants’ presently pending motion is unlikely

 to be dispositive of their place in this action.



       As this Court is aware, after amending the complaint as of

 right, defendants withdrew an initial motion to dismiss and filed

 a second. Plaintiffs intend to seek permission, by motion filed

 this week, to amend to include additional claims against the State

 defendants under 42 USC §§ 1985 and 1986.                  These claims are

 unlikely    to    allow   non-frivolous     challenge     as   their   juristic

 viability appears established (see, e.g., White v Williams, 179


                                        9
Case 1:21-cv-04861-NLH-AMD Document 46 Filed 08/02/21 Page 11 of 16 PageID: 296



 F.Supp.2d 405, 422 [D.N.J. 2002]) and the scope of disclosure for

 these claims is identical, if not slightly broader, than that for

 which State defendants seek a stay.



       In any event, with a return date of October 18, 2021 on these

 defendants’    pending   motion,   a    stay   would   likely   result   in a

 substantial delay:



       The Court agrees that plaintiffs will be prejudiced if
       all discovery is stayed while waiting for defendants'
       motion to be decided. Given the extensive briefing on
       defendants' motion and the expected time it will take for
       the motion to be decided, the case will be in suspense
       for months if defendants' request is granted. Having
       filed their complaint plaintiffs have a right to move
       forward. See Costantino v. City of Atlantic City, C.A.
       No. 13-6667 (RBK/JS), 2015 WL 668161, at *3 (D.N.J. Feb.
       17, 2015) (a delay in plaintiffs' efforts to diligently
       proceed with their claims substantially prejudices
       plaintiffs).

 Udeen v. Subaru of America, Inc., 378 F.Supp.3d 330, 332-333
 [D.N.J. 2019] [Schneider, Mag.])



       Here, more than 14 months after the shooting, the Gordon

 family is without closure - and without understanding or relevant

 facts - in their effort to resolve responsibility for his death.

 Delaying this action means extending a litigation which is shrouded

 in grief for them.




                                        10
Case 1:21-cv-04861-NLH-AMD Document 46 Filed 08/02/21 Page 12 of 16 PageID: 297



       Moreover, there is a substantial public interest in this case

 and this shooting has been the subject of public rallies, protests

 and significant media attention, often as managed by the State

 defendants.     Indeed, some of this attention was fueled by the

 defendants themselves as they released carefully curated selected

 video less than a month after the shooting which, plaintiffs

 contend, was part of an effort to construct a misleading narrative

 of events.



       For    instance,   while   they     released   video   and   personal

 information in relation to the decedent wholly unknown to defendant

 Wetzel and irrelevant to whether his shooting was justified, they

 did not release video of the more than 17 minutes after Wetzel put

 six slugs into the unarmed decedent’s body where, after cuffing

 him, he made no effort to provide first aid - or even a kind word -

 as Maurice Junior laid dying on the side of the road.2



       Indeed, we submit the primary motivation for defendants in

 seeking to stay disclosure - and the State in seeking to withhold

 recordings after publicly releasing what they have chosen to


       2
      In fact, upon information and belief, one of plaintiffs’
 experts, Michael Baden, M.D., has opined that defendant Wetzel put
 the handcuffs on the decedent so tightly that had Maurice Junior
 survived, he would have suffered permanent injury as a result.

                                      11
Case 1:21-cv-04861-NLH-AMD Document 46 Filed 08/02/21 Page 13 of 16 PageID: 298



 release    -    is   that   they   do   not   want   their   skewed   narrative

 challenged by the video and evidence they did not release.               It is

 submitted that the defendants cannot properly pick and choose among

 the recordings they hold, releasing more than hour of video                  -

 including extraneous video - and information regarding the decedent

 in support of a spun narrative, and then declare all other video

 they hold off limits.



       This is a matter of public interest and importance for another

 reason.    The defendants have conceded a history of racism in this

 State’s law enforcement, and have yet to challenge plaintiffs’

 claims of continuing racial disproportionality in actions by its

 police.3       We submit that indifference or inaction in response to

 disproportionality in assaults or slaughter of people premised upon

 race can be the seeds of genocide.            This is a matter of importance

 and an effort to ferret the facts should not be slowed.



                                    Tranche III

 Disclosure Involving The State Defendants’ Knowledge and Actions

       The final tranche of disclosure as pertains to the State does

 indeed, as they contend, seek to ferret out the State defendants’


       3
      Upon information and belief, they will not because they
 cannot.

                                         12
Case 1:21-cv-04861-NLH-AMD Document 46 Filed 08/02/21 Page 14 of 16 PageID: 299



 knowledge and actions - or lack of them - in the face of that

 knowledge.4



       Available documentary disclosure on this tranche is likely to

 be limited by what is likely to be a small well of existing

 material and,        thus,    not   as   invasive    as   the    State    defendants

 suggest.        There may also be some irony in the resistence ti

 disclosure      in   the     case   of   defendant    Grewel,     a    party     whose

 “transparency”       on    racial    issues    and    police     abuse     has    been

 repeatedly proclaimed in press releases and public statements.

 While     the    State     defendants     bridle     against     the     anticipated

 invasiveness      and     impositions     of   depositions,      depositions       are

 presently so far off that it is nearly unimaginable, given the

 predicate discovery necessary, that the disposition of their Rule

 12 motion will not have been rendered prior to their taking.



       In any event, at any point the defendants are free to make

 such applications as they deem to be warranted should they be

 facing    any    particular     disclosure      event     that   might    genuinely

 prejudice them or be deemed unwarranted.                    They should not be



       4
      Nevertheless, there may be some odd items which fall outside
 this conceptual framework set forth as pertinent to the State
 defendants which are presently unknown and not anticipated.

                                           13
Case 1:21-cv-04861-NLH-AMD Document 46 Filed 08/02/21 Page 15 of 16 PageID: 300



 allowed to jump in a foxhole seeking to delay disclosure any

 further for a grieving family.



 Defendant Wetzel’s Motion For a Stay

       Plaintiffs     presently    conceives     of   no   non-testimonial

 disclosure from defendant Wetzel which will be sought and his

 deposition is likely to be the last called for.5              Even were a

 reason for some unanticipated disclosure request to unexpectedly

 surface, defendant Wetzel could not possibly be damaged by that as

 his Fifth Amendment rights may instantly be invoked in response

 with, if necessary, a motion to follow.6



       There   is   no   reason,   rationale   and,   plaintiffs    contend,

 virtually certainly no benefit to this moving defendant which is

 provided by the stay of discovery from him that he seeks.               The

 relief he seeks is gratuitous and pointless to issue.7



       5
      Notwithstanding, his deposition may give rise to specific
 disclosure requests not anticipated prior.
       6
      Cognizant of defendant Wetzel’s rights, plaintiffs cannot
 imagine a matter where they would not yield to their reasonable
 assertion.
       7
      As this Court may recall, during our last conference the
 discussion centered on a stay with respect to the State defendants.
 Had defendant Wetzel’s counsel consulted with plaintiffs to make
 clear his client’s Fifth Amendment concerns prior to making his
 motion, the imposition of his motion might have been avoided.

                                      14
Case 1:21-cv-04861-NLH-AMD Document 46 Filed 08/02/21 Page 16 of 16 PageID: 301



       Indeed, after these representations, were an issue to arise in

 the future motivating defendant Wetzel to make application to this

 Court for a stay or protective Order with respect to discovery

 sought from him, it might be the plaintiffs, not movant Wetzel, who

 would have to explain themselves to this Court.



                                 Conclusion

       For the reasons set forth above, it is respectfully submitted

 that defendants’ motions should be denied.

 Dated:      New York, New York
             August 2, 2021



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                                      15
